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 9   UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
14             Plaintiff,                       DECLARATION OF DEREK E. HINES
15                                              IN SUPPORT OF GOVERNMENT’S
                      v.                        OPPOSITION TO DEFENDANT’S
16                                              SECOND EX PARTE APPLICATION
     ALEXANDER SMIRNOV,                         FOR A CONTINUANCE OF TRIAL
17
18             Defendant.
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 1                          DECLARATION OF DEREK E. HINES
 2   I, Derek E. Hines, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I
 4         have personal knowledge of the matters contained in this declaration and, if called
 5         as a witness to testify, I would competently testify to them. This declaration is
 6         offered in support of the government’s opposition to the defendant’s second ex
 7         parte application for an order continuing the trial date. ECF 159.
 8      2. On October 16, 2024, the defendant filed a motion to compel the production of
 9         certain discovery, ECF 139. In an effort to resolve disputes and avoid wasting the
10         Court’s time, the government produced some additional materials on October 25,
11         2024, rather than waiting to disclose the discovery with the other Jencks materials
12         one week before trial. This production included approximately 420 reports
13         documented on a form “1023,” which consisted of a total of approximately 739
14         pages.
15      3. The defendant filed his second ex parte application for an order continuing the
16         trial date on November 4, 2024. In his motion, the defendant contends he needs a
17         continuance of four months in order to review the 420 reports in the production.
18      4. On November 5, 2024, I read and reviewed all 420 reports in less than 4 hours
19         while preparing the government’s response to the Motion. The majority of the
20         reports are 1 page in length, and in some instances, include only a couple of
21         sentences on each page. Approximately 366 of the reports are 1-2 pages in length.
22         Approximately 47 of the reports are 3-4 pages in length. Approximately 7 of the
23         reports are 5 pages or more in length.
24   Executed on this 5th day of November, 2024 in the Commonwealth of Pennsylvania.
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26                      ______________
27                      Derek E. Hines
28                      Senior Assistant Special Counsel

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